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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ASCENTO CAPITAL, LLC,

                   Plaintiff,

            - against -                                    O R D E R

MINVERVAWORKS, LLC, MINERVAWORKS                      20 Civ. 6195 (NRB)
HOLDINGS, INC., RODNEY BOWERS, XALLES
HOLDINGS, INC., XALLES TECHNOLOGY,
INC., and THOMAS NASH,

               Defendants.
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NAOMI REICE BUCHWALD, District Judge:

      WHEREAS on November 4, 2020, notwithstanding the terms of the

Court’s Individual Practice 2(B), and in violation thereof, counsel

for   defendants    Rodney   Bowers,   MinervaWorks   Holdings,    Inc.,   and

MinervaWorks, LLC filed a motion to dismiss plaintiff’s complaint,

see ECF Nos. 24-25; it is hereby

      ORDERED that the Clerk of Court strike from the docket ECF Nos.

24 and 25; and it is hereby

      ORDERED that, if defendants wish to move to dismiss, counsel

must comply with the Court’s Individual Practices.


Dated:      New York, New York
            November 6, 2020



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                                           NAOMI REICE BUCHWALD
                                           UNITED STATES DISTRICT JUDGE

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